8:13-cr-00107-JFB-RCC           Doc # 106      Filed: 10/01/13     Page 1 of 1 - Page ID # 494




                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                        )
                                                 )
                       Plaintiff,                )                   8:13CR107
                                                 )
       vs.                                       )                    ORDER
                                                 )
BRANDON MOORE,                                   )
                                                 )
                       Defendant.                )



       This matter is before the court on the motion of defendant Brandon Moore (Moore) to
extend the motion filing deadline (Filing No. 105). Upon consideration, the motion is granted.


       IT IS ORDERED:
       Defendant Moore’s motion for an extension of time (Filing No. 105) is granted. Moore is
given until on or before November 1, 2013, in which to file pretrial motions pursuant to the
progression order. The ends of justice have been served by granting such motion and outweigh
the interests of the public and the defendant in a speedy trial. The additional time arising as a
result of the granting of the motion, i.e., the time between October 1, 2013, and November 1,
2013, shall be deemed excludable time in any computation of time under the requirement of the
Speedy Trial Act for the reason defendant’s counsel requires additional time to adequately prepare
the case, taking into consideration due diligence of counsel, and the novelty and complexity of this
case. The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. §
3161(h)(7)(A) & (B).


       DATED this 1st day of October, 2013.


                                                     BY THE COURT:


                                                     s/ Thomas D. Thalken
                                                     United States Magistrate Judge
